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                         FOR PUBLICATION

          UNITED STATES COURT OF APPEALS
               FOR THE NINTH CIRCUIT


        DUY T. MAI,                            No. 18-36071
                      Plaintiff-Appellant,
                                                  D.C. No.
                       v.                    2:17-cv-00561-RAJ

        UNITED STATES OF AMERICA;
        UNITED STATES DEPARTMENT OF              OPINION
        JUSTICE; BUREAU OF ALCOHOL,
        TOBACCO, FIREARMS, AND
        EXPLOSIVES; FEDERAL BUREAU
        OF INVESTIGATION; WILLIAM P.
        BARR, Attorney General;
        CHRISTOPHER A. WRAY, as
        Director of the Federal Bureau of
        Investigation; REGINA
        LOMBARDO, as Acting Director
        of the Bureau of Alcohol,
        Tobacco, Firearms, and
        Explosives,
                    Defendants-Appellees.


              Appeal from the United States District Court
                for the Western District of Washington
               Richard A. Jones, District Judge, Presiding

               Argued and Submitted December 11, 2019
                         Seattle, Washington
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                              Filed March 11, 2020

           Before: Susan P. Graber and Ronald M. Gould, Circuit
                Judges, and David A. Ezra,* District Judge.

                            Opinion by Judge Graber


                                  SUMMARY**


                                    Civil Rights

           The panel affirmed the district court’s dismissal of a
       42 U.S.C. § 1983 complaint containing an as-applied Second
       Amendment challenge to 18 U.S.C. § 922(g)(4), which
       prohibits plaintiff from possessing firearms due to his
       involuntary commitment in 1999 to a mental institution for
       more than nine months after a Washington state court found
       plaintiff to be both mentally ill and dangerous.

           Plaintiff argued that § 922(g)(4)’s continued application
       to him despite his alleged return to mental health and
       peaceableness violated the Second Amendment. The panel
       held that, assuming (without deciding) that § 922(g)(4)’s
       prohibition burdens Second Amendment rights, intermediate
       scrutiny applied. The panel also held that the prohibition on
       the possession of firearms by persons, like plaintiff, whom a


            *
             The Honorable David A. Ezra, United States District Judge for the
       District of Hawaii, sitting by designation.
            **
             This summary constitutes no part of the opinion of the court. It has
       been prepared by court staff for the convenience of the reader.
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       state court has found to be both mentally ill and dangerous is
       a reasonable fit with the government’s indisputably important
       interest in preventing gun violence. Scientific evidence
       supported the congressional judgment that those who have
       been committed involuntarily to a mental institution still pose
       an increased risk of violence even years after their release
       from commitment. The panel therefore concluded that
       Section 922(g)(4)’s continued application to plaintiff did not
       violate the Second Amendment.


                                COUNSEL

       Vitaliy Kertchen (argued), Tacoma, Washington, for
       Plaintiff-Appellant.

       Abby C. Wright (argued) and Michael S. Raab, Appellate
       Staff; Brian T. Moran, United States Attorney; Joseph H.
       Hunt, Assistant Attorney General; Civil Division, United
       States Department of Justice, Washington, D.C.; for
       Defendants-Appellees.


                                OPINION

       GRABER, Circuit Judge:

           Plaintiff Duy Mai recently sought to buy a firearm, but
       federal law barred him from doing so. A number of years
       ago, Plaintiff was committed involuntarily, for more than
       nine months, to a mental institution after a Washington state
       court found him to be both mentally ill and dangerous. Title
       18 U.S.C. § 922(g)(4) prohibits the possession of firearms
       by those, like Plaintiff, whom a state court committed
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       involuntarily to a mental institution. Plaintiff concedes that
       the statutory prohibition on his possession of firearms during
       the period of his commitment was constitutional under the
       Second Amendment. But Plaintiff here brings an as-applied
       challenge to § 922(g)(4), arguing that its continued
       application to him despite his alleged return to mental health
       and peaceableness violates the Second Amendment. We hold
       that, assuming (without deciding) that § 922(g)(4)’s
       prohibition burdens Second Amendment rights, intermediate
       scrutiny applies. We also hold that the prohibition on the
       possession of firearms by persons, like Plaintiff, whom a state
       court has found to be both mentally ill and dangerous is a
       reasonable fit with the government’s indisputably important
       interest in preventing gun violence. Scientific evidence
       supports the congressional judgment that those who have
       been committed involuntarily to a mental institution still pose
       an increased risk of violence even years after their release
       from commitment. Section 922(g)(4)’s continued application
       to Plaintiff does not violate the Second Amendment. We
       therefore affirm the district court’s dismissal of this action.

                               BACKGROUND1

           In October 1999, a Washington state court committed
       Plaintiff involuntarily for mental health treatment after he
       threatened himself and others. The state court determined
       that Plaintiff was both mentally ill and dangerous. Plaintiff’s




           1
              Because we are reviewing the dismissal of a complaint, we accept
       as true its well-pleaded factual allegations. Nayab v. Capital One Bank
       (USA), N.A., 942 F.3d 480, 487 (9th Cir. 2019).
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       commitment lasted more than nine months,2 ending in August
       2000. Plaintiff was seventeen years old at the time of
       commitment, and his commitment spanned his eighteenth
       birthday.

           Since his release from commitment in 2000, Plaintiff has
       earned a GED, a bachelor’s degree, and a master’s degree.
       He is gainfully employed and a father to two children.
       According to the complaint, he no longer suffers from mental
       illness, and he lives “a socially-responsible, well-balanced,
       and accomplished life.”

            As a result of Plaintiff’s involuntary commitment,
       Washington law prohibited him from possessing a firearm.
       Wash. Rev. Code § 9.41.040(2)(a)(iv). Washington law,
       though, allows persons to petition for relief from that
       prohibition if they meet certain conditions.                Id.
       § 9.41.047(3)(a). In 2014, Plaintiff successfully petitioned a
       Washington state court for relief. The court found, pursuant
       to the requirements of Washington law, that “(1) [Plaintiff] is
       no longer required to participate in court-ordered inpatient or
       outpatient treatment; (2) [Plaintiff] has successfully managed
       the condition related to his commitment; (3) [Plaintiff] no
       longer presents a substantial danger to himself, or the public;
       and (4) [t]he symptoms related to the commitment are not
       reasonably likely to recur.” See id. § 9.41.047(3)(c)
       (requiring those findings). Accordingly, the relevant state
       law no longer prohibits Plaintiff from possessing a firearm.


            2
              The record strongly suggests that a state court committed Plaintiff
       involuntarily three separate times during the nine-month period in 1999
       and 2000. The complaint is ambiguous on this point. Because the number
       of commitments does not alter the analysis, we assume that a state court
       committed Plaintiff involuntarily only once, for a period of nine months.
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           But, as a result of his involuntary commitment, federal
       law prohibits Plaintiff from possessing a firearm. Title
       18 U.S.C. § 922(g)(4) bars individuals who have been
       “committed to a mental institution” from possessing
       firearms.3 Federal regulations make clear that the prohibition
       does not apply to “a person in a mental institution for
       observation or a voluntary admission to a mental institution.”
       27 C.F.R. § 478.11. Involuntary commitments comport with
       due process only when the individual is found to be both
       mentally ill and dangerous. Foucha v. Louisiana, 504 U.S.
       71, 80 (1992). Additionally, commitments under state-law
       procedures that lack robust judicial involvement do not
       qualify as commitments for purposes of § 922(g)(4). United
       States v. Rehlander, 666 F.3d 45, 47–49 (1st Cir. 2012). We
       agree with the parties that Plaintiff’s involuntary commitment
       by the Washington state court—which found Plaintiff to be
       both mentally ill and dangerous—qualifies as a
       “commitment” for purposes of § 922(g)(4). Section
       922(g)(4), then, bars Plaintiff from possessing a firearm.

           Federal law provides two potential avenues for relief from
       the § 922(g)(4) bar but, as explained below, neither avenue is
       currently available to Plaintiff.

           First, under 18 U.S.C. § 925(c), Plaintiff may apply to the
       United States Attorney General “for relief from the
       disabilities imposed by Federal laws with respect to the . . .



              3
                “It shall be unlawful for any person . . . who has been adjudicated
       as a mental defective or who has been committed to a mental institution
       . . . [to] possess in or affecting commerce, any firearm or ammunition; or
       to receive any firearm or ammunition which has been shipped or
       transported in interstate or foreign commerce.” 18 U.S.C. § 922(g)(4).
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       possession of firearms.”4 Beginning in 1986, that provision
       extended to persons who had been involuntarily committed to
       a mental institution. Firearms Owners’ Protection Act, Pub.
       L. 99-308, § 105, 100 Stat. 449 (1986). The Attorney
       General may, but is not required to, grant relief “if it is
       established to his satisfaction that the circumstances
       regarding the disability, and the applicant’s record and
       reputation, are such that the applicant will not be likely to act
       in a manner dangerous to public safety and that the granting
       of the relief would not be contrary to the public interest.” Id.;
       see United States v. Bean, 537 U.S. 71, 77 (2002) (noting the
       discretionary nature of the decision and observing that relief



           4
               Section 925(c) provides, in relevant part:

                       A person who is prohibited from possessing . . .
                  firearms or ammunition may make application to the
                  Attorney General for relief from the disabilities
                  imposed by Federal laws with respect to the . . .
                  possession of firearms, and the Attorney General may
                  grant such relief if it is established to his satisfaction
                  that the circumstances regarding the disability, and the
                  applicant’s record and reputation, are such that the
                  applicant will not be likely to act in a manner
                  dangerous to public safety and that the granting of the
                  relief would not be contrary to the public interest. Any
                  person whose application for relief from disabilities is
                  denied by the Attorney General may file a petition with
                  the United States district court for the district in which
                  he resides for a judicial review of such denial. The
                  court may in its discretion admit additional evidence
                  where failure to do so would result in a miscarriage of
                  justice. . . . Whenever the Attorney General grants
                  relief to any person pursuant to this section he shall
                  promptly publish in the Federal Register notice of such
                  action, together with the reasons therefor.
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       may be denied “even when the statutory prerequisites are
       satisfied”).

           That statutory option, however, is currently foreclosed to
       Plaintiff and all others. Since 1992, Congress has prohibited
       the use of funds “to investigate or act upon applications for
       relief from Federal firearms disabilities under 18 U.S.C.
       [§ ]925(c).” Bean, 537 U.S. at 74–75 (alteration in original)
       (quoting Treasury, Postal Service, and General Government
       Appropriations Act, 1993, Pub. L. No. 102-393, 106 Stat.
       1729, 1732 (1992)); see also id. at 75 n.3 (citing later
       appropriations acts with the same prohibition); Hatfield v.
       Barr, 925 F.3d 950, 952 (7th Cir. 2019) (“[S]ince 1992
       Congress has withheld funds to implement § 925(c).”).
       Congress defunded the program because, among other
       reasons, determining eligibility had proved to be a “very
       difficult and subjective task which could have devastating
       consequences for innocent citizens if the wrong decision is
       made.” S. Rep. No. 102-353, at 19 (1992). Accordingly,
       unless Congress chooses in the future to fund the federal
       program, any application by Plaintiff for relief pursuant to
       § 925(c) would be futile. See Bean, 537 U.S. at 76 (holding
       that, while funding is withheld, judicial review is also
       unavailable).

           Plaintiff’s second potential avenue for relief is through a
       state program that qualifies under 34 U.S.C. § 40915. To
       qualify, the state’s program must “permit[] a person who,
       pursuant to State law, . . . has been committed to a mental
       institution, to apply to the State for relief from the disabilities
       imposed by” 18 U.S.C. § 922(g)(4) and other laws. Id.
       § 40915(a)(1). The program also must provide
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               that a State court, board, commission, or other
               lawful authority shall grant the relief, pursuant
               to State law and in accordance with the
               principles of due process, if the circumstances
               regarding the disabilities . . . , and the
               person’s record and reputation, are such that
               the person will not be likely to act in a manner
               dangerous to public safety and that the
               granting of the relief would not be contrary to
               the public interest.

       Id. § 40915(a)(2). Finally, the program must allow a person
       to petition the state court “for a de novo judicial review of [a]
       denial.” Id. § 40915(a)(3). For a person granted relief under
       a qualifying state program, § 922(g)(4)’s prohibition on the
       possession of firearms does not apply. Id. § 40915(b).

           According to the government, “approximately thirty
       States” have created qualifying programs. See also Bureau of
       Justice Statistics, State Profiles: NICS Act Record
       Improvement Program (NARIP) Awards FY 2009–2018,
       https://www.bjs.gov/index.cfm?ty=tp&tid=491 (providing
       state-by-state information suggesting that thirty states and one
       tribe have qualifying programs).           As noted above,
       Washington law provides a mechanism for persons to petition
       for relief from the state-law prohibition on the possession of
       firearms. But that mechanism does not qualify under § 40915
       because, among other reasons, the factual findings required
       by Washington law differ from the factual findings required
       by § 40915. Washington law requires a finding that the
       person “no longer presents a substantial danger to himself or
       herself, or the public.” Wash. Rev. Code § 9.41.047(3)(c)(iii)
       (emphasis added). By contrast, the federal standard requires
       a determination that “the person will not be likely to act in a
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        manner dangerous to public safety.” 34 U.S.C. § 40915(a)(2)
        (emphasis added). Additionally, § 40915(a)(2) requires a
        finding that granting “relief would not be contrary to the
        public interest,” while Washington law requires no such
        inquiry. In other words, the federal standard is more stringent
        than the Washington standard.            Accordingly, unless
        Washington chooses in the future to create a program that
        meets the requirements of § 40915, Plaintiff has no avenue
        for relief from § 922(g)(4)’s prohibition.

            Plaintiff filed this action in 2017 after he was denied the
        purchase of a firearm because of § 922(g)(4). He alleges that
        the Department of Justice; the United States Attorney
        General; the Federal Bureau of Investigation; and the Bureau
        of Alcohol, Tobacco, Firearms, and Explosives (collectively,
        “the government”) violated his Second Amendment right to
        bear arms and his Fifth Amendment right to due process by
        prohibiting him from possessing firearms.

            The government moved to dismiss the complaint for
        failure to state a claim. The district court granted that motion,
        holding that § 922(g)(4) is categorically constitutional under
        the Second Amendment and, alternatively, that § 922(g)(4)
        satisfies intermediate scrutiny. The court also rejected
        Plaintiff’s due process claim. Plaintiff then sought leave to
        amend the complaint, which the court denied as futile.
        Plaintiff timely appeals.

                         STANDARD OF REVIEW

           We review de novo a district court’s decision to grant a
        motion to dismiss, Nayab, 942 F.3d at 487, as well as a
        challenge to the constitutionality of statutes, United States v.
        Torres, 911 F.3d 1253, 1257 (9th Cir. 2019). “When a
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        district court determines that further amendment would be
        futile, we will affirm the district court’s dismissal on this
        basis if it is clear, upon de novo review, that the complaint
        could not be saved by any amendment.” Curry v. Yelp Inc.,
        875 F.3d 1219, 1228 (9th Cir. 2017) (internal quotation marks
        omitted).

                               DISCUSSION

            As this case reaches us, Plaintiff advances only his
        Second Amendment claim. He argues that the Second
        Amendment requires that he be allowed to possess firearms
        notwithstanding his earlier involuntary commitment. He does
        not specify the standard by which federal courts should
        measure whether persons, like Plaintiff, are sufficiently
        rehabilitated for purposes of the Second Amendment.
        Notably, though, Plaintiff does not seek the application of the
        substantive standards defined in 34 U.S.C. § 40915. He has
        never asserted, for example, an equal-protection claim that,
        because persons in thirty other states benefit from programs
        applying § 40915’s substantive standards, he too is entitled
        to relief or to an opportunity to meet those standards. Nor
        has he advanced, on appeal, an argument that due process
        demands the same results. See Smith v. Marsh, 194 F.3d
        1045, 1052 (9th Cir. 1999) (holding that arguments not raised
        in the opening brief are forfeited). We therefore do not
        consider whether those theories have merit, and we turn to the
        only claim on appeal: whether the Second Amendment
        requires that Plaintiff be allowed to possess firearms.

            The “Second Amendment protects the right to keep and
        bear arms for the purpose of self-defense.” McDonald v. City
        of Chicago, 561 U.S. 742, 749–50 (2010). But the right is
        “not unlimited.” District of Columbia v. Heller, 554 U.S.
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        570, 595 (2008). The Supreme Court clarified that its
        recognition of the Second Amendment right does not “cast
        doubt on longstanding prohibitions on the possession of
        firearms by felons and the mentally ill, or laws forbidding the
        carrying of firearms in sensitive places such as schools and
        government buildings, or laws imposing conditions and
        qualifications on the commercial sale of arms.” Id.
        at 626–27; accord McDonald, 561 U.S. at 786. Those
        prohibitions are “presumptively lawful.” Heller, 554 U.S.
        at 627 n.26.

            Applying the lessons from Heller and McDonald, we
        have adopted a two-step inquiry for assessing whether a law
        violates the Second Amendment. Torres, 911 F.3d at 1258.
        “This test ‘(1) asks whether the challenged law burdens
        conduct protected by the Second Amendment and (2) if so,
        directs courts to apply an appropriate level of scrutiny.’” Id.
        (quoting United States v. Chovan, 735 F.3d 1127, 1136 (9th
        Cir. 2013)).

            Whether § 922(g)(4)’s prohibition on the possession of
        firearms by persons who have been committed to a mental
        institution comports with the Second Amendment is an issue
        of first impression in this circuit. But we are guided by our
        previous decisions in related contexts. See, e.g., id. at 1264
        (holding that § 922(g)(5)’s prohibition on the possession of
        firearms by unlawful aliens survives intermediate scrutiny);
        Chovan, 735 F.3d at 1142 (holding that § 922(g)(9)’s
        prohibition on the possession of firearms by persons
        previously convicted of a domestic violence misdemeanor
        survives intermediate scrutiny); United States v. Vongxay,
        594 F.3d 1111, 1118 (9th Cir. 2010) (holding that
        § 922(g)(1)’s prohibition on the possession of firearms by
        felons comports with the Second Amendment).
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            Decisions by the Third and Sixth Circuits addressing
        § 922(g)(4) also inform our analysis. Those courts have
        addressed challenges remarkably similar to Plaintiff’s
        challenge here and have reached opposite conclusions. In
        both Beers v. Attorney General, 927 F.3d 150, 152 (3d Cir.
        2019), petition for cert. filed, __ U.S.L.W. __ (U.S. Jan. 9,
        2020) (No. 19-864), and Tyler v. Hillsdale County Sheriff’s
        Department, 837 F.3d 678, 683–84 (6th Cir. 2016) (en banc),
        a state court had committed the plaintiff many years ago to a
        mental institution but, according to the plaintiff, he was now
        free of mental illness. In both cases, the plaintiff argued that,
        as applied to him, § 922(g)(4)’s prohibition violated the
        Second Amendment.

            The Third Circuit rejected the claim, concluding that
        § 922(g)(4) did not burden conduct protected by the Second
        Amendment. Beers, 927 F.3d at 159. Accordingly, the
        plaintiff’s alleged return to mental health was irrelevant to the
        constitutional analysis. Id.

            By contrast, the Sixth Circuit reversed the district court’s
        dismissal of the claim and remanded for further proceedings.
        Tyler, 837 F.3d at 699. The court first concluded that
        § 922(g)(4) burdened Second Amendment rights and that
        intermediate scrutiny applied. Id. at 688–93. The court then
        held that § 922(g)(4) did not survive intermediate scrutiny as
        applied to the plaintiff because the government had failed to
        show that a lifetime prohibition on the possession of firearms
        was a reasonable fit with the goals of reducing crime and
        suicide. Id. at 693–99.

            We turn, then, to our own analysis.
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             A. Asking Whether § 922(g)(4) Burdens Second
                Amendment Rights

            We first ask whether the statute at issue “burdens conduct
        protected by the Second Amendment.” Torres, 911 F.3d
        at 1258 (quoting Chovan, 735 F.3d at 1136). This inquiry
        “requires us to explore the amendment’s reach based on a
        historical understanding of the scope of the Second
        Amendment right.” Id. (internal quotation marks and
        brackets omitted).      A law does not burden Second
        Amendment rights “if it either falls within one of the
        ‘presumptively lawful regulatory measures’ identified in
        Heller or regulates conduct that historically has fallen outside
        the scope of the Second Amendment.” Id. (some internal
        quotation marks omitted).

            The government has presented a strong argument that
        both of those inquiries support the conclusion that § 922(g)(4)
        does not burden Second Amendment rights. The Supreme
        Court identified as presumptively lawful the “longstanding
        prohibitions on the possession of firearms by felons and the
        mentally ill.” Heller, 554 U.S. at 626. In Vongxay, 594 F.3d
        at 1114–15, we held that § 922(g)(1)—the federal prohibition
        on the possession of firearms by felons—fell within Heller’s
        “presumptively lawful” category. Like the federal prohibition
        as to felons, § 922(g)(4) had been on the books for decades
        when the Court decided Heller. Similarly, historical evidence
        supports the view that society did not entrust the mentally ill
        with the responsibility of bearing arms. See, e.g., Beers,
        927 F.3d at 157–58 (summarizing the historical evidence).

            Plaintiff responds by re-framing the inquiry. He concedes
        that a prohibition as to those persons who are presently
        mentally ill and dangerous does not implicate the Second
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        Amendment. But he reads both Heller and the historical
        evidence as limited to that circumscribed category: those
        who are presently mentally ill. He urges us to agree with the
        Sixth Circuit that “historical evidence . . . does not directly
        support the proposition that persons who were once
        committed due to mental illness are forever ineligible” to
        possess a firearm. Tyler, 837 F.3d at 689.

            We need not decide which perspective better comports
        with the historical evidence. Instead, we follow the “well-
        trodden and ‘judicious course’” taken by our court in many
        recent cases. Pena v. Lindley, 898 F.3d 969, 976 (9th Cir.
        2018) (quoting Woollard v. Gallagher, 712 F.3d 865, 876
        (4th Cir. 2013)), petition for cert. filed, __ U.S.L.W. __ (U.S.
        Dec. 28, 2018) (No. 18-843). We assume, without deciding,
        that § 922(g)(4), as applied to Plaintiff, burdens Second
        Amendment rights.

           B. Determining the Appropriate Level of Scrutiny

            We next “determine the appropriate level of scrutiny to
        apply.” Torres, 911 F.3d at 1262. “[L]aws burdening Second
        Amendment rights must withstand more searching scrutiny
        than rational basis review.” Id. The precise level of
        heightened scrutiny depends “on (1) how close the law comes
        to the core of the Second Amendment right and (2) the
        severity of the law’s burden on the right.” Chovan, 735 F.3d
        at 1138 (internal quotation marks omitted). “[T]here has been
        near unanimity in the post-Heller case law that, when
        considering regulations that fall within the scope of the
        Second Amendment, intermediate scrutiny is appropriate.”
        Torres, 911 F.3d at 1262 (internal quotation marks omitted).
        Strict scrutiny applies only to laws that both implicate a core
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        Second Amendment right and place a substantial burden on
        that right. Id.

            As Plaintiff recognizes, intermediate scrutiny applies
        here. “[T]he core of the Second Amendment is ‘the right of
        law-abiding, responsible citizens to use arms in defense of
        hearth and home.’” Chovan, 735 F.3d at 1138 (quoting
        Heller, 554 U.S. at 635). In Chovan, we concluded that,
        regardless of present-day rectitude, a person convicted long
        ago of a domestic-violence misdemeanor was not a “law-
        abiding, responsible citizen.” Id. That same logic extends
        here: Regardless of present-day peaceableness, a person who
        required formal intervention and involuntary commitment
        by the State because of the person’s dangerousness is not a
        “law-abiding, responsible citizen.” Section 922(g)(4)’s
        prohibition thus falls well outside the core of the Second
        Amendment right. Id.

            We recognize that the burden that § 922(g)(4)’s
        prohibition places on Plaintiff is “quite substantial.” Id.
        Unless Congress or the Washington legislature enacts a
        program relieving him from § 922(g)(4)’s prohibition, the law
        “amounts to a ‘total prohibition’ on firearm possession for
        [Plaintiff]—in fact, a ‘lifetime ban.’” Id. But we agree with
        the Sixth Circuit that, “[l]ike the other provisions of § 922(g),
        § 922(g)(4) does not burden the public at large; it burdens
        only a narrow class of individuals who are not at the core of
        the Second Amendment—those . . . previously involuntarily
        committed.” Tyler, 837 F.3d at 691. Just as intermediate
        scrutiny applies to the other lifetime bans in § 922(g), so too
        does intermediate scrutiny apply to § 922(g)(4)’s prohibition.
        See, e.g., Chovan, 735 F.3d at 1138 (applying intermediate
        scrutiny to § 922(g)(9)’s prohibition on the possession of
        firearms by those previously convicted of the misdemeanor
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        of domestic violence); see also Tyler, 837 F.3d at 691–92
        (collecting cases from other circuits that have applied
        intermediate scrutiny to lifetime bans imposed by § 922(g)).

            In conclusion, we join the Sixth Circuit—the only other
        circuit court to have addressed the issue—in holding that
        intermediate scrutiny applies here.       Tyler, 837 F.3d
        at 690–92.

           C. Applying Intermediate Scrutiny

             To satisfy intermediate scrutiny, the government’s
        statutory objective must be “significant, substantial, or
        important,” and there must be a “reasonable fit” between the
        challenged law and that objective. Silvester v. Harris,
        843 F.3d 816, 821–22 (9th Cir. 2016) (internal quotation
        marks omitted). “A statute need not utilize the least
        restrictive means of achieving its interest in order to
        withstand intermediate scrutiny.” Torres, 911 F.3d at 1263
        (internal quotation marks omitted). “Instead, the statute
        simply needs to promote a substantial government interest
        that would be achieved less effectively absent the regulation.”
        Id. (brackets and internal quotation marks omitted).

            Here, two important interests support § 922(g)(4)’s ban
        on the possession of firearms by those who were involuntarily
        committed to a mental institution: preventing crime and
        preventing suicide. See Washington v. Glucksberg, 521 U.S.
        702, 730–35 (1997) (recognizing the government’s
        “unquestionably important” interest in preventing suicide);
        Schall v. Martin, 467 U.S. 253, 264 (1984) (“The legitimate
        and compelling state interest in protecting the community
        from crime cannot be doubted.” (internal quotation marks
        omitted)); Torres, 911 F.3d at 1263 (holding that the
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        government’s interests in crime control and public safety are
        “important”). We agree with the Sixth Circuit that those two
        interests “are not only legitimate, they are compelling.”5
        Tyler, 837 F.3d at 693.

            Congress’ reasoning is straightforward.              Firearms
        undoubtedly exacerbate acts of violence to others. Bonidy v.
        U.S. Postal Serv., 790 F.3d 1121, 1126 (10th Cir. 2015).
        Firearms also greatly increase the risk of death by suicide.
        See, e.g., Matthew Miller & David Hemenway, Guns and
        Suicide in the United States, 359 New Eng. J. Med. 989, 990
        (2008) (“A suicide attempt with a firearm rarely affords a
        second chance. Attempts involving drugs or cutting, which
        account for more than 90% of all suicidal acts, prove fatal far
        less often.”); id. at 991 (discrediting as “invalid” the specious
        belief that “anyone who is serious enough about suicide to
        use a gun would find an equally effective means if a gun were
        not available”); id. (concluding that “the availability of lethal
        means . . . can make the difference between life and death”).

            In enacting § 922(g)(4) and related restrictions, “Congress
        sought to . . . keep guns out of the hands of those who have
        demonstrated that they may not be trusted to possess a
        firearm without becoming a threat to society.” Dickerson v.
        New Banner Inst., Inc., 460 U.S. 103, 112 (1983) (quoting
        Lewis v. United States, 445 U.S. 55, 63 (1980)), superseded
        in other part by statute, as stated in Logan v. United States,
        552 U.S. 23, 27–28 (2007); accord Small v. United States,
        544 U.S. 385, 393 (2005); Lewis v. United States, 445 U.S.


             5
              Because we determine that § 922(g)(4) is a reasonable fit for the
        government’s interest in preventing suicide, we need not and do not
        address whether the statute is also a reasonable fit for the government’s
        interest in preventing crime.
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        55, 63 (1980); Scarborough v. United States, 431 U.S. 563,
        572 (1977). Put more succinctly, “Congress’ intent in
        enacting [§] 922(g) and [related laws] was to keep firearms
        out of the hands of presumptively risky people.” Dickerson,
        460 U.S. at 112 n.6. Accordingly, although § 922(g)(4)’s
        prohibition takes effect as a result of a past event, the statute
        “target[s] a present danger, i.e., the danger posed by [those
        who previously have been involuntarily committed to a
        mental institution] who bear arms.” Vartelas v. Holder,
        566 U.S. 257, 271 (2012) (emphasis added).

            The Second Amendment allows categorical bans on
        groups of persons who presently pose an increased risk of
        violence. See, e.g., United States v. Skoien, 614 F.3d 638,
        641 (7th Cir. 2010) (en banc) (“[S]ome categorical
        disqualifications are permissible: Congress is not limited to
        case-by-case exclusions of persons who have been shown to
        be untrustworthy with weapons . . . .”). For example, we
        upheld the constitutionality of § 922(g)(9)’s ban on the
        possession of firearms by domestic violence misdemeanants
        because that category of persons has a high rate of domestic
        violence recidivism and because the use of firearms by
        domestic abusers causes more deaths. Chovan, 735 F.3d
        at 1140–41. And we upheld the constitutionality of
        § 922(g)(5)’s ban on the possession of firearms by unlawful
        aliens because that category of persons has “an inherent
        incentive to . . . evade law enforcement” and, if armed, “could
        pose a threat to immigration officers or other law
        enforcement.” Torres, 911 F.3d at 1264.

            Similarly, in enacting § 922(g)(4), Congress determined
        that, like felons and domestic-violence assailants, those who
        have been involuntarily committed to a mental institution also
        pose an increased risk of violence. As we explain below,
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        scientific evidence amply supports that congressional
        judgment. Section 922(g)(4)’s prohibition is therefore a
        reasonable fit for the government’s laudable goal of
        preventing gun violence.

            Plaintiff does not challenge that conclusion as a general
        matter. Indeed, he concedes that § 922(g)(4)’s prohibition
        justifiedly applied to him originally. Instead, Plaintiff brings
        an as-applied challenge only. He argues that the continued
        application of the prohibition to him is no longer justified
        because of the passage of time and his alleged mental health
        and peaceableness in recent years. For the reasons that
        follow, we disagree.

             1. Scientific Evidence Reasonably Supports Congress’
                Judgment.

            The scientific evidence cited by the government shows an
        increased risk of violence for those who have been released
        from involuntary commitment. For example, the authors of
        one meta-analysis surveyed the available scientific literature
        that studied the relationship between a history of mental
        illness and the risk of suicide. E. Clare Harris & Brian
        Barraclough, Suicide as an Outcome for Mental Disorders: A
        Meta-Analysis, 170 Brit. J. Psychiatry 205 (1997) [hereinafter
        Suicide Meta-Analysis]. The authors found that studies of
        persons released from involuntary commitment reported a
        combined “suicide risk 39 times that expected.”6 Id. at 220
        (emphasis added). That extraordinarily increased risk of


             6
              The authors defined the “expected” rate of suicide as either the rate
        calculated by the authors of the individual study or the background rate for
        the general population of the relevant country, controlling for years of the
        study, age, and gender. Suicide Meta-Analysis, supra, at 205.
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        suicide clearly justifies the congressional judgment that those
        released from involuntary commitment pose an increased risk
        of suicide.

            Plaintiff correctly points out that the scientific evidence
        is not a perfect match for his circumstances. For example,
        although suicide risk following release from commitment is
        extremely high, the risk “seems highest” initially and
        “diminishes thereafter.” Id. at 223. Furthermore, the studies
        followed the outcomes of those released from involuntary
        commitment for up to 8.5 years, whereas Plaintiff was
        released from involuntary commitment two decades ago.
        Channeling the Sixth Circuit’s analysis, Plaintiff urges us to
        conclude that the government’s cited studies are insufficient
        to support the congressional judgment that he poses an
        increased risk of suicide. Tyler, 837 F.3d at 695–96.

            We disagree. In assessing congressional judgment, “we
        do not impose an ‘unnecessarily rigid burden of proof,’ and
        we allow [the government] to rely on any material
        ‘reasonably believed to be relevant’ to substantiate its
        interests.” Pena, 898 F.3d at 979 (quoting Mahoney v.
        Sessions, 871 F.3d 873, 881 (9th Cir. 2017)). That standard
        applies because “we are weighing a legislative judgment, not
        evidence in a criminal trial.” Id. Thus, we do not require
        “scientific precision.” Id. at 984. We ask only whether the
        evidence “fairly supports” Congress’ “reasonable”
        conclusions. Id. at 979–80 (quoting Jackson v. City of San
        Francisco, 746 F.3d 953, 969 (9th Cir. 2014)); see also
        Jackson, 746 F.3d at 969 (holding that, even if the relevant
        science were “an open question,” that conclusion “is
        insufficient to discredit [a legislative body’s] reasonable
        conclusions”). When empirical evidence is incomplete, we
        “must accord substantial deference to the predictive
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        judgments of Congress.” Turner Broad. Sys., Inc. v. FCC,
        512 U.S. 622, 665 (1994). “Sound policymaking often
        requires legislators to forecast future events and to anticipate
        the likely impact of these events based on deductions and
        inferences for which complete empirical support may be
        unavailable.” Id.

            Scientific studies show an ever-present increased risk of
        violence for those who were committed involuntarily, even
        well after they are released. We cannot conclude that,
        because no one apparently has published a study beyond
        8.5 years after the participants’ release from involuntary
        commitment, Congress may not infer that the increased risk
        of violence continues after that time period. Importantly, the
        studies did not show merely a slight increase in risk for those
        involuntarily committed; the studies reported “a suicide risk
        39 times that expected.” Suicide Meta-Analysis, supra, at 220
        (emphasis added). It was well within Congress’ legislative
        discretion to predict that the increased risk would not
        plummet to zero in later years.

            Closely related studies confirm that suicide risk remains
        extremely high for those with a history of mental illness, even
        when studies continue beyond a decade after treatment.
        “Previously hospitalised patients” were studied for “up to
        15 years after discharge from in-patient treatment,” and they
        had “a suicide risk seven times that expected.” Id. at 221.
        “Community care patients” were studied for up to 12 years,
        and they had a “suicide risk almost 13 times that expected.”
        Id. “Out-patients” were studied for up to 12 years, and they
        had “a suicide risk 18 times that expected.” Id. Studies that
        did not differentiate between the types of treatment that
        patients received were conducted for up to 15 years and
        reported “a suicide risk 11 times that expected.” Id.
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             In sum, although the scientific evidence suggests that
        Plaintiff’s increased risk of suicide decreases over time,
        nothing suggests that it ever dissipates entirely.7 Scientific
        evidence thus fairly supports the congressional judgment that
        those who have been involuntarily committed to a mental
        institution continue to pose an increased risk of violence even
        many years after their release from commitment. See
        Chovan, 735 F.3d at 1142 (rejecting an as-applied challenge
        to § 922(g)(9)’s prohibition on a domestic violence
        misdemeanant because he had not “directly proved that if a
        domestic abuser has not committed domestic violence for
        fifteen years, that abuser is highly unlikely to do so again”).

            Plaintiff has asserted that, because he was released from
        commitment years ago, no longer suffers from mental illness,
        and has been peaceable in recent years, the Second
        Amendment requires that he be allowed to possess firearms.
        But we emphasize that we are assessing congressional
        judgment about a category of persons, not about Plaintiff
        himself. As described above, scientific evidence reasonably
        supports the congressional judgment about that category of
        persons. We agree with the Sixth Circuit that the Second
        Amendment does not demand “an individualized hearing” to
        assess Plaintiff’s own personal level of risk. Tyler, 837 F.3d
        at 698 n.18; see also Torres, 911 F.3d at 1264 n.6 (holding



            7
               In other contexts, scientific consensus exists that, over time, a
        particular increased risk dissolves entirely.          For example, the
        American Cancer Society reports that, fifteen years after quitting smoking,
        a former smoker’s “risk of coronary heart disease is that of a non-
        smoker’s.” Am. Cancer Soc’y, Benefits of Quitting Smoking Over Time,
        https://www.cancer.org/healthy/stay-away-from-tobacco/benefits-of-
        quitting-smoking-over-time.html. We have located nothing similar in the
        present context.
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        that, under intermediate scrutiny, some amount of over-
        inclusiveness for a firearms prohibition is permissible).

            But even if we were to consider his personal situation,
        Plaintiff’s own anecdotal evidence of his psychological
        evaluations in 2014 confirms what the scientific literature
        explains: Although his present level of risk is lower than it
        was around the time of his commitment, his history of mental
        illness remains a scientifically recognized factor in evaluating
        his current level of risk. One of Plaintiff’s doctors wrote that
        a history of mental illness is “associated with higher risk of
        aggression.” Plaintiff’s results on one psychological test
        showed less of a risk than “the base rate for individuals with
        a psychiatric history”; one doctor concluded that he has a
        “low risk for future violence”; and another doctor concluded
        that he does not “represent[] a significant suicide risk.” But
        nothing in the record suggests that Plaintiff’s level of risk is
        nonexistent or that his level of risk matches the risk
        associated with a similarly situated person who lacks a
        history of mental illness.

             2. Congress Has Not Reconsidered Its Judgment.

            Congress’ 2008 enactment of 34 U.S.C. § 40915 does not
        affect our analysis. As described above, § 40915 allows
        states to create their own “relief from disabilities” programs.
        The Sixth Circuit held that § 40915 “is a clear indication that
        Congress does not believe that previously committed persons
        are sufficiently dangerous as a class” to prohibit them from
        possessing firearms. Tyler, 837 F.3d at 697. We understand
        Congress’ enactment of § 40915 differently.

           Congress enacted § 40915 as part of the NICS
        Improvement Amendments Act of 2007 (“NIAA”), 34 U.S.C.
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        §§ 40902–40941. As its name suggests, the NIAA aimed to
        improve the National Instant Criminal Background Check
        System (“NICS”), the federal background-check system that
        includes a database listing persons who have been
        disqualified from possessing firearms. Id. § 40902. Congress
        passed the NIAA in response to horrible acts of gun violence
        by those with a history of mental illness. Id. § 40902(8)–(9).
        All of the NIAA’s substantive provisions other than § 40915
        seek to improve the information contained in the federal
        database. See, e.g., id. § 40911 (requiring federal agencies to
        share information); id. §§ 40912–40914 (encouraging states
        to share information).

            The NIAA was a political compromise that included
        § 40915’s avenue for relief for some of the least dangerous
        only in exchange for greatly improved enforcement as to all
        the rest, including the most dangerous.8 Congress’ statutory
        extension of grace to some persons as part of a political
        compromise aimed at preventing gun violence does not affect
        our constitutional analysis. We do not read the NIAA as
        disturbing the longstanding congressional judgment—
        supported by scientific evidence—that those who were




            8
               See, e.g., 153 Cong. Rec. 15,676 (2007) (“In order to move the
        legislation to the floor, it was necessary to make some accommodations
        [including the addition of § 40915] to incorporate the concerns of gun
        owners.” (statement of Rep. Conyers)); id. at 15,677 (“This legislation
        represents a true compromise . . . [with] two diverse groups . . . , the NRA
        and the Brady Group, coming together to help work out this legislation,
        and both had some benefits from it.” (statement of Rep. Castle)); accord
        153 Cong. Rec. 36,338 (2007) (“[T]his compromise legislation . . .
        respects the rights of gun owners and, at the same time, makes sure that
        the NICS system will work more effectively.” (statement of Sen. Leahy)).
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        involuntarily committed to a mental institution pose an
        increased risk of violence even years after their release.9

             3. Section 922(g)(4) Is a Reasonable Fit for Preventing
                Suicide.

            To meet intermediate scrutiny, the government must
        demonstrate that § 922(g)(4) is a “reasonable fit” for the goal
        of reducing gun violence. Torres, 911 F.3d at 1263. As
        described above, Congress reasonably concluded that
        restricting firearms from persons with an increased risk of
        violence advances the goal of reducing gun violence. Section
        922(g)(4) thus appears to be a “reasonable fit” for the
        government’s important interest. See id. (holding that, to
        meet intermediate scrutiny, a “statute simply needs to
        promote a substantial government interest that would be
        achieved less effectively absent the regulation.” (brackets and
        internal quotation marks omitted)).

            But we also must consider the availability, or
        unavailability, of avenues of relief from categorical, lifetime
        bans. Fisher v. Kealoha, 855 F.3d 1067, 1071 (9th Cir. 2017)
        (per curiam); Chovan, 735 F.3d at 1142. Plaintiff presently


             9
               Nor could Congress’ extension of grace to some persons alter the
        meaning of the Second Amendment. Like many constitutional provisions,
        the Second Amendment establishes a floor below which Congress may not
        legislate. But if Congress chooses to legislate well above that floor—for
        example, by allowing categories of persons to possess firearms even
        though Congress could restrict possession—that legislation has no effect
        on the meaning of the Second Amendment. See, e.g., Bracy v. Gramley,
        520 U.S. 899, 904 (1997) (holding that “the Due Process Clause of the
        Fourteenth Amendment establishes a constitutional floor, not a uniform
        standard” and noting the existence of many laws that legislate above that
        constitutional minimum).
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        has no avenue for seeking relief from § 922(g)(4)’s
        prohibition. Unless Congress funds the “relief from
        disabilities” program defined in § 925(c) or the Washington
        legislature creates a “relief from disabilities” program
        pursuant to § 40915,10 federal law prohibits Plaintiff from
        possessing a firearm. This case thus differs from challenges
        to other lifetime bans imposed by § 922(g), because those
        provisions allow persons to seek relief from the lifetime ban
        in certain circumstances. See, e.g., Chovan, 735 F.3d at 1142
        (noting the avenues for relief, such as a gubernatorial pardon,
        available to domestic-violence misdemeanants).

            Several factors lead us to conclude that § 922(g)(4)
        nevertheless remains a reasonable fit for the congressional
        goal of reducing gun violence. First, the governmental
        interest at stake is compelling. The statute does not merely
        aim to protect financial interests. Nor is the statute merely a
        modest, incremental improvement in fighting crime. See,
        e.g., Pena, 898 F.3d at 981–86 (upholding the
        constitutionality of a law requiring some firearms to
        “microstamp” identifying information onto discharged
        bullets). The interest at stake here is preventing horrific acts
        of violence. Suicide affects not only its immediate victim;
        family members, friends, and the community as a whole
        suffer immensely. Even a small decrease in the number of
        suicides is, therefore, a significant public benefit.




             10
                That possibility is not fanciful. Soon after the Third Circuit rejected
        the plaintiff’s challenge to § 922(g)(4) in Beers, 927 F.3d 150, the federal
        government approved Pennsylvania’s state program under § 40915.
        Petition for cert. 23 (U.S. Jan. 9, 2020) (No. 19-864). The plaintiff in
        Beers is “now licensed to possess a firearm and has obtained one.” Id.
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            Second, as discussed above, the scientific evidence
        strongly suggests that the increased risk is not tiny. The
        available studies, though an imperfect match for Plaintiff’s
        precise circumstances, have found that those released from
        involuntary commitment are 39 times more likely to commit
        suicide than those not previously committed.

            Finally, § 922(g)(4)’s prohibition as to those who were
        committed involuntarily applies not to persons who
        theoretically might be dangerous at some point in their lives.
        Instead, it applies only to those who were found, through
        procedures satisfying due process, actually dangerous in the
        past.11 By limiting the prohibition to those with a
        demonstrated history of dangerousness, § 922(g)(4) is more
        narrowly tailored than other lifetime prohibitions that we
        have upheld, such as § 922(g)(1)’s prohibition as to felons,
        both violent and non-violent. See United States v. Phillips,
        827 F.3d 1171, 1175–76 (9th Cir. 2016) (upholding
        § 922(g)(1)’s lifetime ban as applied to someone convicted of
        the “non-violent” felony of misprision).

            In sum, we hold that § 922(g)(4)’s prohibition on those
        who have been involuntarily committed to a mental
        institution is a reasonable fit for the important goal of
        reducing gun violence. The district court therefore correctly
        granted the government’s motion to dismiss. Because the
        factual allegations in the proposed amended complaint do not
        affect our analysis, the district court correctly denied, as
        futile, Plaintiff’s motion for leave to amend the complaint.




             11
               As applied to Plaintiff, a state court found him dangerous at least
        once, and possibly three times. See supra, note 2.
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                              CONCLUSION

            The federal prohibition on Plaintiff’s possession of
        firearms because of his past involuntary commitment
        withstands Second Amendment scrutiny. Those who are no
        longer mentally ill, but who were committed involuntarily
        years ago, unquestionably pose less of a risk of violence now
        than when a state court found them to be mentally ill and
        dangerous. But scientific evidence reasonably supports the
        congressional judgment that they nevertheless still pose an
        increased risk of violence. The Second Amendment allows
        Congress to further its goal of preventing gun violence by
        barring Plaintiff from possessing a firearm.

            We emphasize that we reach only Plaintiff’s Second
        Amendment challenge and that our holding is limited to
        § 922(g)(4)’s prohibition on those who have “been committed
        to a mental institution.” We emphatically do not subscribe to
        the notion that “once mentally ill, always so.” We accept, as
        we must and as we have no reason to doubt, that Plaintiff is
        no longer mentally ill. We decide only that § 922(g)(4)’s
        application to him withstands Second Amendment scrutiny.

           AFFIRMED.
